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                           Attorneys for Plaintiff
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                     12                              IN THE UNITED STATES DISTRICT COURT
                                                          FOR THE DISTRICT OF NEVADA
                     13
                     14       MARINA DISTRICT DEVELOPMENT
                              COMPANY, LLC d/b/a BORGATA
                     15
                              HOTEL CASINO & SPA,
                     16
                                                      Plaintiff,              CASE NO.: 2:20-cv-01592-GMN-BNW
                     17       v.
                     18       AC OCEAN WALK, LLC d/b/a OCEAN                  PLAINTIFF’S MOTION FOR LEAVE
                     19       CASINO RESORT,                                  TO FILE EXCEED PAGE LIMITS FOR
                                                                              ITS REPLY IN SUPPORT OF ITS
                     20       WILLIAM CALLAHAN,                               MOTIONS FOR A TEMPORARY
                                                                              RESTRAINING ORDER AND
                     21       KELLY ASHMAN BURKE,                             PRELIMINARY INJUNCTION
                     22                               Defendants.
                     23
                     24            Plaintiff Marina District Development Company, LLC d/b/a Borgata Hotel, Casino & Spa

                     25    (“Plaintiff”), by and through its counsel, the law firm of Jackson Lewis P.C., hereby moves the

                     26    Court for leave to file its Reply In Support of its Motion for a Temporary Restraining Order [ECF

                     27    No. 2] and Motion for Preliminary Injunction [ECF No. 9]. The reply exceeds the 12-page limit

                     28    of LR 7-3(b).

Jackson Lewis P.C.
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    Las Vegas
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                      1           As set forth in the attached Declaration from Plaintiff’s counsel, there is good cause for

                      2    granting Plaintiff’s request. Defendants Ocean Casino, William Callahan and Kelly Burke filed

                      3    two separate oppositions, as well as motions to dismiss and compel arbitration. Even with the

                      4    abbreviated briefing schedule, each of issues and arguments required some response on reply, and

                      5    to streamline proceedings, Plaintiff chose to file a single, consolidated Reply rather than multiple

                      6    documents. The length of the consolidated Reply is 19 pages. That is seven pages longer than

                      7    what is ordinarily permitted by local rule for a reply, but it is five pages less than what would be

                      8    permitted if Plaintiff had filed separate replies to Ocean and Callahan’s respective oppositions.

                      9           Dated this 8th day of September, 2020.

                     10                                                         JACKSON LEWIS, P.C.

                     11
                                                                                       /s/ Paul T. Trimmer
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                          Case 2:20-cv-01592-GMN-BNW Document 27 Filed 09/09/20 Page 3 of 3




                      1                                CERTIFICATE OF SERVICE
                                     I HEREBY CERTIFY that I am an employee of Jackson Lewis P.C., and that on this
                      2
                           8th day   of September, 2020, I caused to be served via the Court's CM/ECF Filing, a true and
                      3
                           correct copy of the foregoing PLAINTIFF’S MOTION FOR LEAVE TO EXCEED PAGE
                      4
                           LIMITS properly addressed to the following:
                      5
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                                                                                 /s/ Paul T. Trimmer
                     17                                                       Employee of Jackson Lewis P.C.

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